Case 1:20-cv-10484-GAO Document 66-7 Filed 11/01/22 Page 1 of 3
 

Case 1:20-cv-1Wadeeeoradcambapes-manited 11/01/22 Page 2 of 3Page: 1

SUPPLEMENTAL NARRATIVE FOR POLICE DETECTIVE MICHAEL S BENNER
Ref: L8WAL-218-AR

Entered: 10/24/2018 @ 1928 Entry ID: MB71
Modified: 10/25/2018 @ 0828 Modified ID: MB71
Approved: 10/27/2018 @ 1211 Approval ID: J0O37

_§. SULLIVAN

3

2/24/22 _

      

KLT

   

 

 

On Wednesday October 24, 2018 at approximately 1400 hours | Detective Benner was asked to assist with a past
domestic assault and battery involving a juvenille.

Officer Thomas Hart who is the school resource officer stated that he was informed by Vice Principal Lee Tobey that a
studen@§§iiiiip Sullivan had bruising on both of her cheeks and had reported to another student that her father had caused
the bruising.

The victim’s identity is as follows SD Sullivan (QR, 165 Kendall Street, Walpole Ma). The victim’s
identity is known to the Commonwealth, for the remainder of this report the victim will be referred to as “victim.”

Upon arrival Officer Kiewlicz and myself spoke to Vice Principal Lee Tobey. Lee stated that she was made aware of the
bruising on the victim’s face after another student RQ 07-15-2002 reported to her and the school nurse Rachel
Jackson that the victim stated that the bruising was caused by her father Edward Sullivan (see Detective Sgt. Kelleher’s
narrative).

Lee stated that after becoming aware of the situation she called down the victim and asked her about the bruising. The
victim stated that the bruising on both her cheeks was caused by her brother gli Sullivan age 7 falling off of his bunk and
falling on her last night. When asked if this story was truthful the victim stated that it was.

After speaking to the victim Lee spoke to the first complaint witness ED . Wlstated that she was at lunch with
the victim and noticed the bruising on both her cheeks. When asked what had occurred the victim stated that she did not
want to talk about it because it would destroy her family. When asked further about this the victim stated that it was her
father Edward Sullivan who had struck her. She stated that it was due to an issue involving her grades which caused her
father to be upset with her. She stated that she could handle it because she only had three years left living in the home and
that her father only hits her, not her brothers and sister.

Upon hearing this information, | spoke to Suzanne McDermott and Kristin Collins from the District Attorney’s Office and
made them aware of the situation. Lee Toby also filed a 51a with DCF (Brian Guzzi) which was forwarded over to the District
Attorney’s Office. DCF stated that they would send out an immediate response worker to assess the situation and interview
involved parties (David Skutul). They also stated that the three other children in the household should remain at school until
parties were interviewed and a determination was made if the household was a safe environment . Lee Tobey spoke to

faculty at Fisher School and hac ge (age 7) and Sa Sullivan (age 5) remain at school. Officer Thayer went to Fisher to
assist. Another sibling®jiiage 12) was on the bus headed to a friend’s house.

DCF worker Brian Skutul arrived and interviewed the victim. | was also in the room along with Vice Principal Lee Tobey.
The victim stated that she currently shares a room with her younger brother ij age 7. She stated that last night while
sleeping, Sjjpfell off of the top bunk and landed on her. She stated that he also caused a water bottle to fall on her while
she was sleeping which caused the marks on both sides of her face. She stated that there had been no other altercations
and that her brother falling is what caused her bruising. | could see bruising on both of the victim’s cheek bones. The bruises
appeared fresh and recent. When asked if her father had ever struck her physically, she stated that he spanked her once
when she was 6 years old after she was being unsafe crossing the street. The bruising was only on both of her cheeks not on
her nose which seemed odd if someone or something (a water bottle) fell on you.

We then traveled to Fisher School where Skutul spoke with ib (7) and QM (5). Both boys did not report anything
significant occurring last night and stated that they had never seen their father strike the victim. GM stated that he might
have seen the bruising on his sister’s face this morning but believed they were from a football injury.

 

Sullivan, et al. v. Walpole, et al. D000123

 
 

Case 1:20-cv-10ad R380 BdammPAPes-menited 11/01/22 Page 3 of 3Page: 2

SUPPLEMENTAL NARRATIVE FOR POLICE DETECTIVE MICHAEL S BENNER
Ref: L8WAL-218-AR
Entered: 10/24/2018 @ 1928 Entry ID: MB71

Modified: 10/25/2018 @ 0828 Modified ID: MB71
Approved: 10/27/2018 @ 1211 Approval ID: JO37

 

 

When asked about falling off of the bunk jp reported that he did not fall off of the bunk last night, that the top bunk
was not made with sheets and that he had slept on the bottom bunk. When asked if he fell on his sister the victim last night
or dropped anything on her, he replied no.

Brian Skutul then spoke with @MBsullivan (age 12). Tara also reported nothing significant occurring last evening and
stated that no one gets hit in her home.

At the police station Officer Kiewlicz and | spoke with Edward Sullivan. Edward signed his Miranda Rights indicating that
he wished to speak to us. Edward stated that he never struck the victim and does not hit his children. He stated that he did
not notice any bruising on the victim’s cheeks when he left for work this morning at 0630 hours. He reported a minor
disagreement last night with his daughter involving a phone charger, but nothing significant. Edward could not speculate
how the victim got the bruising on both her cheeks under her eyes.

Edward stated that we could look at his phone and | did read a text message from his daughter to him at approximately
1301 hours which asked her father to move Chats bed due to the fact that he knocked a water bottle down which fell on
her last evening. This text message appeared odd due to the fact that this came in the middle of the day at approximately
1301 hours after the victim spoke to her friend QE and informed her that her father had struck her, which caused
her to be called down to Vice Principal Toby’s Office. Lee Toby stated that she was told by the victim about her brother
falling off the bunk and striking her at approximately 1230 hours.

At approximately 1730 hour sieges did come to the Walpole Police Department where she was interviewed by Det.
Sgt. Kelleher. In this interview (iio nfirmed that the victim confided in her that her father had struck her causing the
bruising on her face (see Det. Sgt. Kelleher’s narrative). Due to these facts and circumstances the decision was made to
place Edward Sullivan under arrest for Domestic assault and battery.

Respectfully Submitted
Detective Michael Benner

Walpole Police Department

 

Sullivan, et al. v. Walpole, et al. D000124

 
